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                                            U NITED STATES DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA

              U NITED STATES OF AMERICA,                           Western Division
                                                      Plaintiff,
                                     vs.                           Case #: 2:20-MJ-05206-1            Out of District
                                                                   Initial App. Date: 10/28/2020        Affidavit
              ZHENG CONGYING                                       Time: 1:00 PM                        Custody




                                                    Defendant.     Date Filed: 10L/2020
                                                                   Violation: 18:371;951(a)_;18:371;2261A(1)_(B)
                                                                   CourtSmart/Reporter: Miranda Algorri


          PROCEEDINGS HELD BEFORE UNITED STATES                            CALENDAR/PROCEEDINGS SHEET
            M AGISTRATE JUDGE: Alicia G. Rosenberg                          LOCAL/OUT-OF-DISTRICT CASE




          PRESENT:           Karl Lozada                  Reema EI-Amamy                      Yanyan Liu /Mandarin
                     ----------------------------    ------------------------------   ----------------------------------------
                            Deputy Clerk               Assistant U.S. Attorney                Interpreter/Language




          e Defendant informed of charge and right to: remain silent; appointment of counsel, if indigent; right to
          bail; bail review and D removal hearing /Rule 20.

          D Defendant states true name is as charged.


          D Defendant advised of consequences of false statement in financial affidavit.

          ~ Attorney: KATE MORRIS ~ DFPD, D Appointed

          D Government's request for detention is: CONTINUED.

          a Defendant executed Waiver of Rights. Process received.

          e Case continued to (Date) 8:30 a.m. on Monday, November 2, 2020 by Video

          e Type of Hearing: Detention Before Judge Rosenberg /Duty Magistrate Judge.

          D Proceedings will be held in the Duty Courtroom 341 in Roybal

          e Defendant committed to the custody of the U.S. Marshal

          8 PSA, 8 FINANCIAL, D READY

                                                                                              Deputy Clerk Initials: kl
                                                                                                              00:20




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